      Case 1:21-cv-00012-H Document 1 Filed 01/08/21              Page 1 of 16 PageID 1


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

VAN PHI,                                       §
                                               §
       Plaintiff,                              §           CIVIL ACTION NO.
                                               §           _________________
vs.                                            §
                                               §
CARTER PRATHER AND ASPHALT &                   §
FUEL TRANSPORT, LLC D/B/A AF                   §
TRANSPORT,                                     §
                                               §
       Defendants,                             §

                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. § 1446(a), Defendant Asphalt & Fuel Transport, LLC d/b/a AF

Transport (“AF Transport”) files this Notice of Removal, hereby removing this action from the

193rd Judicial District Court of Dallas County, Texas to the United States District Court for the

Northern District of Texas, Dallas Division. Removal is based on diversity jurisdiction, because

there is complete diversity between Van Phi (“Plaintiff”), and Defendants AF Transport and Carter

Prather (“Prather”) and the amount in controversy exceeds $75,000.00, exclusive of interest and

costs. Plaintiff is a Texas resident. Defendants are not Texas residents. Defendant AF Transport is

not a Texas corporation, but is an Oklahoma corporation organized and incorporated under the laws

of the state of Oklahoma. Defendant Prather is a resident of Oklahoma.

                                             I.
                                       INTRODUCTION

       1.      Plaintiff filed his Original Petition on December 1, 2020 in the 193rd Judicial

District Court for Dallas County, Texas, located at 600 Commerce Street, Dallas, Texas 75202.

Plaintiff’s Original Petition asserts several causes of action against Defendants arising out of an

alleged motor vehicle accident for which Plaintiff seeks damages greater than $250,000 but less

than $1,000,000.

Notice of Removal                                                                            Page 1
      Case 1:21-cv-00012-H Document 1 Filed 01/08/21                  Page 2 of 16 PageID 2


       2.      Plaintiff served Defendant Prather on December 11, 2020. See Exhibit F. Plaintiff

served Defendant AF Transport through the Texas Secretary of State. The Texas Secretary of State

received the Citation and Petition on behalf of AF Transport on December 15, 2020. See Exhibit 4.

This Notice of Removal is being filed within thirty (30) days of service of the Citations and

Original Petition on Defendants and is thus timely under 28 U.S.C. §1446(b).

                                            II.
                                   GROUNDS FOR REMOVAL

       3.      Federal diversity jurisdiction exists over this removed action pursuant to 28 U.S.C. §

1331, because all relevant parties are diverse and the amount in controversy exceeds $75,000.00,

exclusive of interest and costs.

A.     There Is Complete Diversity Among the Parties.

       4.      Removal is proper, because there is complete diversity between the parties. See 28

U.S.C. § 1332(a).

       5.      Plaintiff is a resident of Texas.

       6.      Defendant AF Transport is an Oklahoma corporation organized and incorporated

under the laws of the state of Oklahoma. Consequently, AF Transport is a citizen of the State of

Oklahoma for purposes of diversity jurisdiction.

       7.      Defendant Prather is an individual residing in Oklahoma. Consequently, Defendant

Prather is a citizen of the State of Oklahoma for purposes of diversity jurisdiction.

B.     The Amount In Controversy Exceeds $75,000.

       8.      Plaintiff’s Original Petition seeks a total amount greater than $250,000 but less than

$1,000,000. The damages claimed exceed the $75,000 jurisdictional threshold. In this regard, the

damages Plaintiff claims in his petition, if claimed in good faith, are controlling. St. Paul Mercury

Indem. Co. v. Red Cab Co., 303 U.S. 283, 288 (1938).

                                                    III.
                                                   VENUE
Notice of Removal                                                                              Page 2
      Case 1:21-cv-00012-H Document 1 Filed 01/08/21                  Page 3 of 16 PageID 3


       9.      Venue for removal proper in this district and division under 28 U.S.C. § 1441(a),

because this district and division embrace the Texas State District Courts of Dallas County, Texas,

the forum in which the removed action was previously pending.

                                          IV.
                                PROCEDURAL REQUIREMENTS

       10.     Pursuant to 28 U.S.C. §1446(a) and Northern District of Texas Local Rule LR 81.1,

the Notice of Removal has the following attachments:

       Exhibit 1:              The completed civil cover sheet (and attached supplement)

       Exhibit 2:              The supplemental civil cover sheet (and attached supplement);

       Exhibit 3:              An index of all documents that clearly identifies each document and
                               indicates the date the document was filed in state court;

       Exhibits A–H:           Each document filed in the state court action excluding discovery
                               material;

       Exhibit 4:              Texas Secretary of State confirmation of receipt of service for Asphalt
                               & Fuel Transport, LLC d/b/a AF Transport;

       Exhibit 5:              Certificate of Interested Persons that complies with LR 3.1(c) or
                               3.2(e).

       11.     Pursuant to 28 U.S.C.§ l446(d), written notices of filing of this Notice of Removal

will be given to all adverse parties promptly after the filing of same.

       12.     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of

Removal will be filed with the District Clerk for the 193rd Judicial District Court of Dallas

County, Texas promptly after filing of same.

                                               V.
                                           CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, Defendant Asphalt & Fuel Transport LLC

d/b/a AF Transport respectfully requests that the above-captioned action now pending in the 193rd

Judicial District Court of Dallas County, Texas be removed to the United States District Court

for the Northern District of Texas, Dallas Division.

Notice of Removal                                                                               Page 3
      Case 1:21-cv-00012-H Document 1 Filed 01/08/21              Page 4 of 16 PageID 4




                                        Respectfully Submitted,

                                        /s/ Kurt W. Meaders
                                        KURT W. MEADERS
                                        State Bar No. 13879900
                                        RAYMOND B. ALBERTSON
                                        State Bar No. 00971600
                                        MEADERS & ALFARO
                                        ATTORNEYS AT LAW
                                        2001 Bryan Street, Suite 3625
                                        Dallas, TX 75201-3068
                                        Telephone: (214) 721-6210
                                        Facsimile: (214) 721-6289
                                        Eservice: Efiling@meaderslaw.com

                                        ATTORNEYS FOR DEFENDANTS
                                        CARTER PRATHER AND ASPHALT & FUEL
                                        TRANSPORT, LLC D/B/A AF TRANSPORT



                                CERTIFICATE OF SERVICE

        I hereby certify that on 8 January 2021, I electronically filed the foregoing document with
the Clerk of the Court for the United States District Court, Northern District of Texas, using the
CM/ECF system, which will send notification of such filing to the following and I have separately
sent such notification to the below:

James Bauguss III
State Bar No. 24045463
Ben Abbott & Associates, PLLC
1934 Pendleton Drive
Garland, TX 75041
Telephone: (972) 263-5555
Facsimile: (972) 682-7586
Eservice: Eservice@benabbott.com

                                        /s/ Kurt W. Meaders
                                        KURT W. MEADERS




Notice of Removal                                                                            Page 4
Case 1:21-cv-00012-H Document 1 Filed 01/08/21   Page 5 of 16 PageID 5
Case 1:21-cv-00012-H Document 1 Filed 01/08/21   Page 6 of 16 PageID 6




                          Exhibit 2
Case 1:21-cv-00012-H Document 1 Filed 01/08/21   Page 7 of 16 PageID 7
Case 1:21-cv-00012-H Document 1 Filed 01/08/21   Page 8 of 16 PageID 8
      Case 1:21-cv-00012-H Document 1 Filed 01/08/21            Page 9 of 16 PageID 9



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

VAN PHI,                                      §
                                              §
        Plaintiff,                            §            CIVIL ACTION NO.
                                              §            _________________
vs.                                           §
                                              §
CARTER PRATHER AND ASPHALT &                  §
FUEL TRANSPORT, LLC D/B/A AF                  §
TRANSPORT,                                    §
                                              §
        Defendants,                           §

                 SUPPLEMENT   TO   FEDERAL SUPPLEMENTAL CIVIL COVER SHEET

2. Style of the Case :

             Party and Party Type                                Attorney(s)
Van Phi – Plaintiff                               James Bauguss III
                                                  State Bar No. 24045463
                                                  Ben Abbott & Associates, PLLC
                                                  1934 Pendleton Drive
                                                  Garland, TX 75041
                                                  Telephone: (972) 263-5555
Carter Prather – Defendant                        Raymond B. Albertson
                                                  State Bar No. 00971600
                                                  Meaders & Alfaro
                                                  Attorneys at Law
                                                  2001 Bryan Street, Suite 3625
                                                  Dallas, TX 75201-3068
                                                  Telephone: (214) 721-6210
Asphalt & Fuel Transport, LLC d/b/a AF            Raymond B. Albertson
Transport – Defendant                             State Bar No. 00971600
                                                  Meaders & Alfaro
                                                  Attorneys at Law
                                                  2001 Bryan Street, Suite 3625
                                                  Dallas, TX 75201-3068
                                                  Telephone: (214) 721-6210
Case 1:21-cv-00012-H Document 1 Filed 01/08/21   Page 10 of 16 PageID 10




                           Exhibit 3
      Case 1:21-cv-00012-H Document 1 Filed 01/08/21              Page 11 of 16 PageID 11



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

VAN PHI,                                          §
                                                  §
         Plaintiff,                               §          CIVIL ACTION NO.
                                                  §          _________________
vs.                                               §
                                                  §
CARTER PRATHER AND ASPHALT &                      §
FUEL TRANSPORT, LLC D/B/A AF                      §
TRANSPORT,                                        §
                                                  §
         Defendants,                              §


                              INDEX OF MATTERS BEING FILED


         Exhibit      Name of Document

         A.           Certified Copy of Civil Docket Sheet from January 8, 2021;

         B.           Copy of Plaintiff’s Original Petition and Request for Disclosure filed on
                      December 1, 2020;

         C.           Copy of letter to court filed by Plaintiff’s counsel on December 1, 2020,
                      requesting citations to be issued;

         D.           Copy of Citation issued to Defendant Carter Prather, filed on December 1,
                      2020;

         E.           Copy of Citation issued to Defendant Asphalt & Fuel Transport, LLC d/b/a
                      AF Transport, filed on December 1, 2020;

         F.           Copy of Return of Service for Defendant Carter Prather filed on December 15,
                      2020;

         G.           Copy of Notice of Initial Dismissal Hearing filed by Judge Whitmore on
                      December 4, 2020;

         H.           Copy of Defendants Carter Prather and Asphalt & Fuel Transport, LLC d/b/a
                      AF Transport’s Original Answer filed on January 8, 2021.




INDEX OF MATTERS BEING FILED                                                               PAGE 1
Case 1:21-cv-00012-H Document 1 Filed 01/08/21   Page 12 of 16 PageID 12




                           Exhibit 4
                           Case 1:21-cv-00012-H Document 1 Filed 01/08/21                       Page 13 of 16 PageID 13




                                                                Service of Process Search

  Service #                               Defendant                Style                      Cause #
                                           af transport

      Search All             Start Over




  Found: 1  Displayed: 1


     Service #: 2021323688    Received 12/15/2020 8:58:30 AM    Cause #: DC2017766
     Style: VAN PHI VS CARTER PRATHER, ET AL

     Court: 193rd Judicial District Court Of Dallas County, Texas

     Service Action #1    Forwarded 12/21/2020    Return Receipt Dated 12/28/2020

           Defendant Name: ASPHALT & FUEL TRANSPORT LLC DBA AF TRANSPORT

           Result: bearing signature




           SOSDirect - Business Filings                                      VoteTexas.gov - Voter Information
           Business Copies and Certificates                                  Register to Vote & Voter I.D.
           Uniform Commercial Code                                           Website Policies
           Texas Businesses Against Trafficking                              Open Records
           Texas.gov                                                         Contact us



           Statewide Search
           Texas Homeland Security
           Where the Money Goes
           Fraud Reporting
           Texas Veterans Portal




https://direct.sos.state.tx.us/citations/ServiceOfProcessSearch.asp[01/05/2021 11:17:32 AM]
Case 1:21-cv-00012-H Document 1 Filed 01/08/21   Page 14 of 16 PageID 14




                           Exhibit 5
     Case 1:21-cv-00012-H Document 1 Filed 01/08/21                      Page 15 of 16 PageID 15



                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



Van Phi
Plaintiff
v.                                                             DC-20-17766
                                                               Civil Action No.
Prather and Asphalt & Fuel Transport, LLC
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

Asphalt & Fuel Transport, LLC d/b/a AF Transport



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 ACE American Insurance Company
               Case 1:21-cv-00012-H Document 1 Filed 01/08/21                        Page 16 of 16 PageID 16



                                                              Date:                 01/08/21
                                                              Signature:            /s/ Raymond B. Albertson
                                                              Print Name:
                                                                                    Raymond B. Albertson
                                                              Bar Number:           00971600
                                                              Address:              2001 Bryan Street, Suite 3625
                                                              City, State, Zip:     Dallas, TX 75201
                                                              Telephone:            (214) 721-6210
                                                              Fax:                  (214) 721-6289
                                                              E-Mail:               Efiling@meaderslaw.com




NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
